           Case 1:20-cv-03823-ALC Document 12 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT                                                      11/09/2020
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   IMAGEFICTION, INC.,                                        :
                                                              :
                                                Plaintiff,    :   1:20-cv-03823 (ALC)
                                                              :
                     -against-                                :   ORDER
                                                              :
   AMAN RESORTS GROUP LIMITED,                                :
                                                              :
                                             Defendant.       :
                                                              :
------------------------------------------------------------x :

ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of Plaintiff’s letter motion for leave to file an amended complaint

and Plaintiff’s response to the Order to Show Cause issued by this Court on October 16, 2020.

ECF Nos. 10-11.

        On May 16, 2020, Plaintiff filed a Complaint commencing this action. ECF No. 1. On

May 17, 2020, Plaintiff filed an Amended Complaint. ECF No. 3. Accordingly, by no later than

November 23, 2020, Plaintiff shall provide the Court with more details regarding its proposed

amendment, including the name of the entity it plans to substitute and reason for the amendment,

along with authority to support its request.



SO ORDERED.

Dated: November 9, 2020                                     ___________________________________
       New York, New York                                         ANDREW L. CARTER, JR.
                                                                  United States District Judge
